Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 1 of 12

EXHIBIT Z-22
Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 2 of 12

BEFORE THE DIRECTOR OF THE
ARIZONA DEPARTMENT OF ENVIRONMENTAL QUALITY

CONSENT ORDER:

Grand Canyon National Park - South Rim
Wastewater Treatment Plant located
approximately 4% mile south of Well Road and
West Rim Drive, Grand Canyon, Coconino
County, Arizona

Docket Not f a dl-l$3

Place ID#

I. RECITALS

A. United States Department of the Interior, National Parks Service (USDOI NPS) is the
owner and operator of Grand Canyon National Park - South Rim Wastewater Treatment
Plant (WWTP) located approximately % mile south of Well Road and West Rim Drive,
Grand Canyon, Coconino County, Arizona.

B. Christine Lehnertz is a representative of USDOL NPS and certifies that she is fully
authorized to execute this Consent Order on behalf of USDOI NPS and to legally bind
USDOI NPS to this Consent Order.

C. The Director of Arizona Department of Environmental Quality (ADEQ) has jurisdiction of
this action's subject matter and is authorized to issue this Consent Order pursuant to the
Arizona Revised Statutes (A.R.S.).§§ 49-261 and 41-1092.07(F)(5).

D. USDOI NPS agrees that the Director of ADEQ has jurisdiction of this action's subject
matter. .

E. This Consent Order contains the full terms of the agreement between USDOI NPS and
ADEQ.

F, USDOI NPS voluntarily agrees to this Consent Order based only on the terms contained in
the Consent Order.

G. USDOI NPS understands that agreeing to this Consent Order does not resolve any liability
that it may have for civil penalties for a violation of any State or Federal environmental

law.
Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 3 of 12

H. USDOI NPS understands that agreeing to this Consent Order does not mean it admits to
any civil or criminal liability, or waive any right or assertion of any defense available to
USDOI NPS under applicable law. .

I, USDOI NPS does not admit the validity of any Agency Determinations and Findings
contained in this Consent Order.

J. Except in a proceeding to implement or enforce this Consent Order, both ADEQ and
USDOI NPS retain the right to dispute the validity of any Agency Determinations and
Findings contained in this Consent Order in any future proceeding.

K. Except as stated in Recital J, USDOI NPS agrees to the terms of this Consent Order and

agrees not to dispute the validity or terms of this Consent Order in any future proceeding.

il. AGENCY DETERMINATIONS AND FINDINGS

The Director makes the following Agency Determinations and Findings that USDOI NPS has
violated a requirement of A.R.S., the Arizona Administrative Code (A.A.C.), or an ADEQ issued
permit, as described below:

A. A.R.S. § 49-263(A)(4)

Violation of a water quality standard.

According to information provided by USDOI NPS in their permit renewal application, the
WWTP has intermittently exceeded the ammonia standard, The ammonia standard is a
sliding scaled based.upon the concentration of ammonia and pH of the sample. The
following exceedances were reported:

a, 35,4 mg/L on July 10, 2017

b. 25.6 mg/L on April 5, 2017

c. 15,9 mg/L on September 14, 2016

d. 19.2 mg/L on August 9, 2016

e. 26.6 mg/L on April 13, 2016
Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 4 of 12

Additionally, USDOI was not collecting pH and temperature at the same time and location
as the ammonia sample, as required by Part I. Table 2.a. of the Arizona Pollutant Discharge
Elimination System Permit (AZ002152).,

B. Arizona Pollutant Discharge Elimination System Permit (AZ0022152), Appendix D.,
Standard Condition 6.— Proper Operation and Maintenance
The permittee shall at all times properly operate and maintain facilities and systems af
ireatinent and control (and related appurtenances) which are installed or used by the
permitiee to achieve compliance with the conditions of the permit. Proper operation and
maintenance also inclides adequate laboratory controls and appropriate quality
assurance procedures. This provision requires the operation of back up or auxillary
systeins which are installed by a permittee only when the operation is necessary to

achieve compliance.

During an inspection completed on August 16, 2017, ADEQ inspectors observed the
following operational and maintenance deficiencies:
a. The capacity of the digester was insufficient to treat the solids;
b. The capacity of the drying beds were insufficient to dewater the solids;
c. The WWTP had insufficient aeration which was resulting in low dissolved oxygen
levels and potential ammonia exceedances;
C. Arizona Administrative Code (A.A.C) R18-9-1006
Failure to ensure that all biosolids that are land applied meet the Class A or Class B

pathogen reduction requirements, «

During an inspection completed on August 16, 2017, ADEQ inspectors observed that
biosolids were staged at the lagoon without meeting one of the pathogen reduction
requirements. According to USDOI NPS, the digester had insufficient capacity to achieve

the pathogen reductions requirements described in A.A.C R18-9-1006E.5.

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 5 of 12

D. A.A.C R18-9-1010(A)
Failure to ensure that all biosolids that are land applied meet one of the vector attraction

reduction requirements described in this Section.

During an inspection completed on August 16, 2017, ADEQ inspectors observed that
biosolids were staged at the lagoon without meeting one of the vector attraction reduction
requirements. According to USDOI NPS, the digester had insufficient capacity to achieve
the pathogen reductions requirements described in A.A.C R18-9-1010(A)(1).

E. A.A.C. R19-9-1014(F)
Failure of a person preparing biosolids in a POTW that serves 10,000 people or more to
submit the applicable information regarding their activities on or before February 19 of

each year.

To date, USDOI NPS did not submit their biosolids annual report for 2016.

Ill. COMPLIANCE SCHEDULE
ADEQ has established the compliance requirements. ADEQ and USDOI NPS have agreed on the

completion deadlines, USDOI NPS agrees to comply with the provisions of this Consent Order as
follows:

A. USDOI NPS shall mitigate the potential adverse impacts or public health impacts. Within
thirty (30) days from the effective date of the Order, USDOI NPS shall submit
documentation demonstrating that the following items have been completed:

a. Shall provide ADEQ with a plan to address the biosolids that are stored in the
lagoon by March 15, 2018. ADEQ will provide any comments, in writing, within
a reasonable amount of time, USDOI NPS shall respond to ADEQ’s comments, if
applicable, within thirty (30) days of receipt.

b. Identification to the best of USDOI NPS’s ability of the source of the intermittent
ammonia exceedances at the WWTP.

c. Investigate and develop short-term action plan with milestone and deadlines that

can be taken to mitigate ammonia water quality exceedances. USDOI! NPS shall

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 6 of 12

provide this plan in writing, with such plan not to exceed 5 pages. Any ammonia
sampling must include pH and temperature and ensure that those parameters are
collected at the same time and location of the ammonia sample (to be taken at the
Outfall) but prior to mixing with the receiving water, ADEQ will provide any
comments, in writing, within a reasonable amount of time. USDOI NPS shall

respond to ADEQ’s comments, if applicable, within thirty (30) days of receipt.

B. Within one hundred and eighty (180) days from the effective date of this Order,
USDOI NPS shall submit a proposal with milestones and timeframes to address the

deficiencies identified in Section I]. The plan shall also evaluate the permitting options

for any proposed facility modifications or replacement. USDOI NPS shall respond to

ADEQ’s comments, if applicable, within thirty (30) days of receipt. At a minimum, the

proposal shal! address of the following items:

a.

Ensure that that WWTP can consistently and reliably meet its permit discharge
limits and will no longer exceed any water quality standards.

Ensure that the digester has sufficient capacity to ensure that biosolids are treated
adequately to meet one of the pathogen reduction methods described in A.A.C.
R18-9-1006(E) ;

Ensure that the WWTP has sufficient aeration in the wastewater treatment
process;

Ensure that biosolids meet one of the vector attraction reduction methods
described in A.A.C. R18-9-1010.

If USDOI NPS wishes to modify or replace the WWTP the proposal must include
milestones and timeframes to apply, obtain, and comply with applicable permit
requirements;

ADEQ will review and approve USDOI NPS’proposal, and ADEQ will not
unreasonably withhold such approval. Upon receipt of the written approval, the

approved timeframes will be incorporated and enforceable under this Order.

C, USDOINPS shall be in compliance with their AZPDES permit limits, surface water

quality standards no later than October 1, 2019.
D. USDOINPS shall completed installation of digesters with sufficient capacity to

adequately treat the biosolids no later than October |, 2020.

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 7 of 12

IV. STATUS REPORTS
A. USDOI NPS agrees to submit a written status report to ADEQ every sixty (60) calendar

days beginning sixty (60) days from the effective date of this Consent Order, until this

Consent Order terminates. If the sixty (60) day period ends on a weekend or holiday, the

status report shall be due on the next business day following the weekend or holiday. Each

written status report must:

1, Describe what measures have been taken under Section III of this Consent Order;

2. Certify when compliance with the requirements of Section III of this Order are
achieved;

3. Be accompanied by evidence showing compliance, as appropriale. Evidence showing
compliance can include documents, photographs, or copies of any other supporting
information that USDO] NPS deems necessary.

B. ADEQ will review the status reports and inform USDOI NPS in writing of any disputes.

USDOI NPS must incorporate all required modifications, changes or other alterations that

ADEQ requests within a reasonable time specified by ADEQ.

V. COMPLIANCE WITH OTHER LAWS

A. This Consent Order does not include issues regarding releases, contamination, sources,
operations, facilities or processes not expressly stated by the terms of this Consent Order,
and does not interfere with the rights that the State of Arizona or USDOI NPS have under
any federal or Arizona environmental statutes and rules regarding such issues.

B. This Consent Order is not a permit of any kind, does not modify any permit of any kind,
nor is it an agreement to issue a permit of any kind under federal, state or local law.

C. This Consent Order does not alter, modify or revoke federal, state, or local law.

D. This Consent Order is not a defense to any action to enforce any such permits or laws.

E. USDOI NPS has an obligation to:

1. Apply for, obtain, and comply with all applicable permits.
2. Comply with federal, state or local law.

3. Comply with the terms of this Consent Order.

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 8 of 12

Vi.

SITE ACCESS

USDOI NPS shall allow ADEQ upon the presentation of credentials to enter the premises where a

regulated facility or activity is located or conducted in order to observe and monitor compliance

with the provisions of this Consent pursuant to Inspection and Entry authorities outlined in
Standard Condition 10 of the AZPDES Permit (AZ0022152), A.R.S. §§ 41-1009 and 49-
203(B)(1), and A.A.C, R18-9-1015.

CORRESPONDENCE

Vil.

A.

VIII,

USDOI NPS shall send all correspondence, such as documents, materials, plans, notices,

or other items under this Consent Order, to:

Arizona Department of Environmental Quality
Water Quality Division

Attention: Mindi Cross

1110 West Washington Street

Phoenix, Arizona 85007-2935

Telephone: (602) 771-2209

Email: mc4@azdeq.gov

Any submission to ADEQ is treated as submitted when ADEQ receives it.
ADEQ shall send all correspondence under this Consent Order to:

Brenna White

Grand Canyon National Park
P.O. Box 129

Grand Canyon, AZ 856023
(928) 310-8654

OF RIGHTS

A. ADEQ agrees to this Consent Order based solely upon currently available information. If

additional information is discovered, which indicates that the actions under this Consent
Order are or will be inadequate to protect human health, safety, or the environment, or to

conform with applicable federal or state laws, ADEQ has the right to require further action.

B. ADEQ has the right to:

1. Seek civil penalties for any and all violations of A.R.S. Title 49 or the applicable rules,

occurring before the effective date of this Consent Order;

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 9 of 12

2. Disapprove USDOI NPS' work that fails to comply with this Consent Order;
3. Take enforcement action for any and all violations of this Consent Order; and,
_4, Take enforcement action for any and all violations of A.R.S. Title 49 or the applicable

rules, occurring after the effective date of this Consent Order.

1X. VIOLATIONS OF ORDER
If USDO] NPS fails to comply with this Consent Order, USDOI NPS can be liable for other

administrative or judicial sanctions, including civil penalties under A.R.S. § 49-262, the same as

if for a violation of any State or Federal environmental law.

Xx. SEVERABILITY
If a court of law declares that any provision of this Consent Order is invalid or unenforceable, all

other provisions of this Consent Order remain in full force and effect.

XI. MODIFICATIONS
Any modifications of this Consent Order must be in writing and USDOI NPS and ADEQ both

must approve the modifications.

XI EFFECTIVE DATE

The effective date of this Consent Order is the date this Consent Order is signed by ADEQ and
USDOI NPS. If ADEQ and USDOI NPS sign on different dates, the later date is the effective date
of this Consent Order.

ALL. PARTIES BOUND

USDOI NPS is responsible, and will remain responsible, for carrying out all activities required

under this Consent Order, regardless of change in ownership, corporate status, or partnership
status, or transfer of assets or real or personal property relating to the subject of this Consent Order,
unless:

A. The Party to whom the right, title, or interest has been sold, transferred, or assigned agrees

in writing to fulfill the obligations of this Consent Order; and,

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 10 of 12

B. ADEQ approves the provisions transferring the obligation.

XIV. TERMINATION
A. ADEQ will notify USDOI NPS in writing that this Consent Order is ended when ADEQ

determines that USDOI NPS has demonstrated that all of the terms of this Consent Order
have been completed or satisfied. .

B. If ADEQ denies USDOI NPS's request for termination, ADEQ will notify USDOI NPS in
writing and describe which terms of the Consent Order have not been completed to ADEQ's
satisfaction.

C. ADEQ reserves the right to terminate this Consent Order unilaterally at any time for any
reason, but will notify USDOI NPS in writing as to the reason(s) for termination,

Signed this 19” day of _, Januar 2018

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Krista Osterberg, Section Manager
Surface Water Section Name
Arizona Department of Environmental Quality

CONSENT TO ORDER

Christine Lehnertz, on behalf of USDOI NPS acknowledges that she has read all of the Consent
Order. Christine Lehneriz agrees:

A. With the statements made,

B. To this Consent Order with the Arizona Department of Environmental Quality, and,

C. That USDOI NPS will comply with Consent Order and waive any right to appeal.

cm”
Signed this {3 day of =< 4’. , 2018.

Fehvistine Lehnertz, Superintendent
Grand Canyon National Park

9. Initials kK
Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 11 of 12

ORIGINAL of this Consent Order was sent certified mail, return receipt requested, this /

day of ae , 201 3, to:

CC: Via certified mail, return receipt requested on:

USDOI NPS

Grand Canyon National Park
P.O. Box 129

Grand Canyon, AZ 86023

CC: on:

Arizona Department of Environmental Quality

Office of Administrative Counsel

Attention: Hearing Administrator

1110 West Washington Street

Phoenix, Arizana 85007-2935

Curtis Cox, Chief Counsel, Environmental Enforcement Section, Office of the Attorney General
Andy Koester, AZPDES Individual Permits Unit

Maries Peoples, Chief Health Officer, Coconino County Public Health Services

Kenneth Greenberg, Water Section I, EPA Region IX

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Case 3:19-cv-08268-DLR Document 37-5 Filed 06/17/20 Page 12 of 12

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